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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,               §
                                        §
vs.                                     §      Criminal No. C-06-442-3
                                        §
JUAN CARLOS SANCHEZ,                    §
                                        §
      Defendant.                        §

                                       ORDER

      On this day came on to be considered Defendant Juan Carlos

Sanchez’s “Notice of Motion for Immediate Deportation” (D.E. 85) in

the above-styled action.          In his motion, Defendant essentially

requests that the Court order the Attorney General to commence

immediate deportation or removal proceedings against him prior to

the Defendant’s completion of his term of imprisonment.                     It is

well-settled, however, that federal courts have no jurisdiction to

intervene in the Attorney General’s “long-established discretion to

decide    whether    and   when   to    prosecute      or    adjudicate   removal

proceedings or to execute removal orders.” Alvidres-Reyes v. Reno,

180 F.3d 199, 201 (5th Cir. 1999) (finding no jurisdiction over a

case in    which    plaintiffs    sought       a   court    order   requiring   the

Attorney General to commence deportation proceedings against them)

(citing 8 U.S.C. § 1252(g))1; see also Ganesan v. U.S. Attorney, 85


      1
       8 U.S.C. § 1252(g) provides that “no court shall have
jurisdiction to hear any cause or claim by or on behalf of any
alien arising from the decision or action by the Attorney
General to commence proceedings, adjudicate cases, or execute
removal orders against any alien under this chapter.” “The
stringent limitations of § 1252(g) apply not only to the
Attorney General’s affirmative actions but also to his
refusals to take action.” Mendez v. Johnson, 101 Fed.Appx.
18, 20, 2004 WL 1088249 at *1 (6th Cir. 2004) (unpublished).
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Fed. Appx. 384, 2004 WL 57726 at *1 (5th Cir. 2004) (unpublished)

(“Similarly, the Attorney General has the discretion to decline to

commence deportation proceedings, which discretion is not subject

to judicial interference”). Although, pursuant to the statute, the

Attorney General does have authority to order removal of an alien

who has not yet completed his term of imprisonment, 8 U.S.C. §

1231(a)(4)(A)-(B), that authority belongs solely to the Attorney

General and not to the federal courts.         See, e.g., Thye v. United

States, 109 F.3d 127, 128 (2d Cir. 1997) (whether to deport an

alien “prior to completing a prison term is a matter solely within

the discretion of the Attorney General”).         Accordingly, this Court

has no jurisdiction to order the relief sought by the Defendant and

Defendant’s “Motion for Immediate Deportation” is DENIED.

     SIGNED and ENTERED this 12th day of July, 2007.



                               ____________________________________

                                         Janis Graham Jack
                                   United States District Judge




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